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AO 9 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

EASTERN DISTRICT OF MISSOURI

United States of America )
v. )
) Case No. 4:21 MJ 7289 SPM
PEREZ REED, )
) SIGNED AND SUBMITTED TO THE COURT FOR
) FILING BY RELIABLE ELECTRONIC MEANS
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 28, 2021 in the county of St. Louis City in the
Eastern District of Missouri, and elsewhere , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 924(b) Interstate Transportation of a Firearm with Intent to Commit a Felony

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

rif Continued on the attached sheet. I state under the penalty of perjury that the following is true and correct.

Complainant's signature

FBI Special Agent Kassandra L. McKenzie

Printed name and title

Sworn to, attested to, or affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal Procedure 4.1 and 41.

Date: 11/6/2021 Ap) — ;
Judge's signature

City and state: St. Louis, Missouri Honorable Shirley Padmore Mensah, U.S. Magistrate Judge
- Printed name and title Oe
